 

 

Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 1 of 12 PagelD #: 22

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
UNITED STATES OF AMERICA,
Plaintiff,
Criminal Action No. 11-42-GMS

vs.

CHRISTOPHER J. TIGANI,

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Defendant.
MEMORANDUM OF PLEA AGREEMENT
Pursuant to discussions between the United States of America, by and through its attorneys,
David C. Weiss, Attorney for the United States, Acting Under Authority Conferred By 28 U.S.C. § 515,
and Robert F. Kravetz, Assistant United States Attorney for the District of Delaware, and the defendant,
Christopher J. Tigani, by and through his attorneys, Edson A. Bostic and Luis A. Ortiz, the following
agreement is hereby entered into by the respective parties:
1. The defendant shall waive prosecution by indictment and plead guilty in the United States
District Court for the District of Delaware to a four-count Information.

a. Count One of the Information charges the defendant with making and causing to be
made illegal corporate contributions to a federal campaign committee, aggregating $25,000 or more
during a calendar year, in violation of Title 2, United States Code, Sections 441 b(a) and 437g(d)(1)(A),
and Title 18, United States Code, Section 2. The maximum penalties for Count One are a term of
imprisonment of five years; a fine of not less than 300 percent of the amount involved in the violation,
and not more than the greater of $50,000 or 1,000 percent of the amount involved in the violation; and
a term of supervised release of three years. The defendant understands that if there were a trial, the

Government would have to prove the following elements with respect to Count One of the Information:
 

 

Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 2 of 12 PagelD #: 23

(1) that the defendant, an officer of a corporation organized under the laws of the State of Delaware (2)
knowingly and willfully (3) violated the Federal Election Campaign Act of 1971 (the “Campaign Act”)
by making contributions and causing contributions to be made in the names of others to a campaign
committee of a candidate for federal office (4) in violation of the prohibition against corporate
contributions contained in the Campaign Act (5) aggregating more than $25,000 or more in a calendar
year.

b. Count Two of the Information charges the defendant with making illegal conduit
campaign contributions, in violation of Title 2, United States Code, Sections 441f and 437g(d)(1)(A),
and Title 18, United States Code, Section 2. The maximum penalties for Count Two are a term of
imprisonment of five years; a fine of not less than 300 percent of the amount involved in the violation
and not more than the greater of $50,000 or 1,000 percent of the amount involved in the violation; and
a term of supervised release of three years. The defendant understands that if there were a trial, the
Government would have to prove the following elements with respect to Count Two of the Information:
(1) that the defendant knowingly and willfully (2) violated the Campaign Act by making contributions
and causing contributions to be made in the names of others to a campaign committee of a candidate
for federal office (3) aggregating more than $25,000 or more in a calendar year.

c. Counts Three and Four of the Information charge the defendant with making a
materially false statement on an income tax return, in violation of Title 26, United States Code, Section
7206(1). The maximum penalties for Counts Three and Four are a term of imprisonment of three years,
a fine of $100,000.00, one year supervised release, a $100.00 special assessment, and the costs of
prosecution, which the parties stipulate to be zero. The defendant understands that if there were a trial,

the Government would have to prove the following elements with respect to Counts Three and Four of
 

Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 3 of 12 PagelD #: 24

the Information: (1) that the defendant made, subscribed and filed an income tax return; (2) that the tax
return contained a written declaration that it was made under the penalties of perjury; (3) that the return
was false regarding a material matter; (4) that the defendant did not believe the return was true and
correct as to that material matter; and (5) that the defendant acted willfully.
2. Inconnection with this Memorandum, the defendant admits the following conduct with

respect to Counts One and Two and his relevant conduct:

a, From atleast October 2003, and continuing through December 2008, in the District of
Delaware and elsewhere, the defendant, the former President of N-K-S Distributors, Inc. (““NKS”),
knowingly and willfully caused contributions to be made to campaign committees and political
campaigns of numerous candidates for federal and state office in violation of federal and state law.
Defendant directly and indirectly solicited numerous individuals, including NKS employees, their
spouses, and other associates, to contribute to candidates running for the offices of President of the
United States; the United States Senate; Governor of the State of Delaware; Lieutenant Governor of the
State of Delaware; Treasurer of the State of Delaware; the Delaware Senate; and the Delaware General
Assembly. Defendant used NKS non-payroll checks to reimburse these third-party conduits for the
federal and state campaign contributions they made on behalf of defendant and NKS. In this respect,
defendant was able to bundle campaign contributions in contravention of state and federal contribution
limits, and violated the federal ban against direct corporate contributions.

b. By so doing, defendant further caused campaign committees and political campaigns
to submit false reports to the Federal Election Commission (“FEC”) and the Delaware Office of the
State Election Commissioner (“Delaware Commissioner of Elections”), which indicated that lawful

contributions were made by individuals other than defendant and NKS to the respective candidates and
 

Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 4 of 12 PagelD #: 25

committees, when in fact, as defendant well knew, it was defendant and NKS that had made unlawful
contributions to these candidates and committees and not the conduits listed in the reports filed with
the FEC and the Delaware Commissioner of Elections.

c. Atthe same time, defendant sought to curry favor by making sure that the campaigns
knew that the contributions were associated with TIGANI and NKS. Defendant did so by, among other
things, using individuals associated with NKS as conduits for contributions; hosting fund-raising events
in which he or his associates delivered the contributions; volunteering NKS employees to make
fundraising calls on behalf of candidates; allowing a federal campaign to utilize NKS offices to make
phone calls for fundraising purposes; providing free alcohol for state fundraising events; and arranging
for federal and state candidates and campaign representatives to pick up bundled campaign
contributions directly from NKS headquarters.

d. During the period that defendant bundled campaign contributions, from 2003 through
2009, defendant and NKS attempted to exert their influence on a number of issues, including their
support of the sale of alcohol beverages on Sundays, and their opposition to any increase in alcohol
excise taxes and estate taxes. Defendant also sought to utilize his company’s influence to obtain two
parcels of land in Milford, Delaware, via a sixty-six year lease entered into with the Delaware
Department of Transportation (“DelDOT”).

e. In or around September and August 2004, defendant caused four NKS employees to
each contribute $10,000.00 to a Delaware State Committee of a major political party (“THE STATE
COMMITTEE”), for atotal contribution amount of $40,000.00. Defendant also contributed $10,000.00
to THE STATE COMMITTEE in his own name. Defendant caused NKS to reimburse each employee

with a $10,000.00 NKS non-payroll check to cover the cost of the contributions.
 

Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 5 of 12 PagelD #: 26

f. In or around May 2006, defendant caused two NKS employees to each contribute
$500.00 to CAMPAIGN COMMITTEE B, a campaign committee in support of a candidate for the
United States Senate. Defendant caused NKS to reimburse each employee with NKS non-payroll
checks to cover the cost of the contributions.
g. Incalendar year 2007, defendant caused at least twenty-nine (29) NKS employees, their
spouses, and other associates to make approximately forty-one (41) federal campaign contributions to
CAMPAIGN COMMITTEE A, a campaign committee in support of a candidate for the Office of
President of the United States. In each instance, TIGANI caused NKS to reimburse each employee with
NKS non-payroll checks to cover the cost of the contributions. In particular,
° On or about August 28, 2007, defendant held a “fundraiser” for NKS employees
that was ostensibly for the purpose of providing a venue for NKS employees, their
spouses, and other associates to make contributions to CAMPAIGN COMMITTEE A.
The “fundraiser” was, in fact, a sham. Instead, defendant caused NKS employees to
provide approximately seventeen (17) checks to defendant made out to CAMPAIGN
COMMITTEE A. In addition, defendant provided two (2) checks to CAMPAIGN
COMMITTEE A in his name and the name of a family member.

° On or about September 6, 2007, defendant caused an NKS employee and his
spouse to provide two (2) checks to defendant for CAMPAIGN COMMITTEE A.

° On or about September 30, 2007, defendant caused eight (8) NKS employees

and their spouses to provide nine (9) checks to defendant for CAMPAIGN

COMMITTEE A.
Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 6 of 12 PagelD #: 27

° In November 2007, defendant caused an NKS employee to provide six (6)
checks to defendant for CAMPAIGN COMMITTEE A.
° On or about December 13, 2007, defendant caused six (6) NKS employees
and their spouses to provide six (6) checks to defendant for CAMPAIGN
COMMITTEE A
The total amount of illegal conduit contributions to CAMPAIGN COMMITTEE A in calendar year
2007 was $70,400.00.

h. The total amount of illegal conduit contributions to THE STATE COMMITTEE,
CAMPAIGN COMMITTEE A, and CAMPAIGN COMMITTEE B, during the course of the scheme,
in violation of federal law, was $111,400.00.

i. Defendant and NKS further provided additional in-kind contributions to federal and
state candidates and campaign committees. Defendant directed NKS employees to make fundraising
calls using NKS telephones on behalf of candidates during work hours. Defendant also permitted
CAMPAIGN COMMITTEE A to utilize the NKS office building after-hours for campaign staffers and
volunteers to make fundraising calls on behalf of CAMPAIGN COMMITTEE A. NKS and defendant
did not seek, nor were they reimbursed, for permitting CAMPAIGN COMMITTEE A to use the NKS
facility and telephone system.

j. In addition, defendant and NKS provided alcohol to state candidates and campaign
committees for fundraising events. NKS and defendant did not seek, nor were they reimbursed, for
providing alcohol to state candidates and campaign committees for fundraising purposes.

k. Defendant, through the scheme, caused THE STATE COMMITTEE, CAMPAIGN

COMMITTEE A, and CAMPAIGN COMMITTEE B, subject to the reporting provisions of the
 

_ Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 7 of 12 PagelD #: 28

Campaign Act, to file reports with the FEC which falsely stated that the conduits had made federal
campaign contributions, when in truth and in fact each contribution was made by defendant or NKS.
Defendant further caused numerous state candidates and campaign committees to file similar false
reports with the Delaware Commissioner of Elections.

1. Defendant acknowledges that, as a result of his conduct in committing the election
offenses, he acted as an organizer or leader of a criminal activity that involved five or more participants
or was otherwise extensive. U.S.S.G. § 3B1.1(a).

3. In connection with this Memorandum, the defendant admits the following conduct with
respect to Counts Three and Four and his relevant conduct:

a. In 2005 and 2006, defendant caused the NKS Controller to create false accounting
entries in the NKS books and records in order to artificially increase the funds available in what was
referred to as the NKS “Note Payable Account.” The Note Payable Account was an officer loan account
whereby defendant remitted a portion of his year-end bonus, after taxes, to NKS to help fund operating
expenses. NKS, in turn, paid interest on the note. NKS repaid the note by either paying personal
expenses for defendant, or by defendant drawing a non-payroll check against the note.

b. |Defendant’s personal spending from the Note Payable account in 2005 and 2006 far
exceeded the amount of money he actually lent to NKS, which should have created a negative balance
on the note. At defendant’s direction, however, the NKS Controller inflated the amount of money that
NKS reportedly owed defendant on the note to instead reflect a positive balance in the account.

c. Defendant also failed to remit to NKS two checks that he received from third parties

that represented payments from the third parties to NKS. The checks totaled $125,000.00 and
Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 8 of 12 PagelD #: 29

$75,000.00, respectively. Defendant also concealed, in a separate NKS expense account, payments that
NKS made for personal landscaping expenses at defendant’s residence totaling $39,680.00 in 2005 and
2006.

d. The false accounting entries and third-party checks permitted defendant to generate
income that he failed to report, thus leading him to make false statements on his 2005 and 2006 federal
income tax returns

e. Onor about October 15, 2006, the defendant made, subscribed, and filed a Form
1040 joint tax return. The return contained a statement indicating that the return was made under
penalty of perjury. The defendant certified on the tax return that he earned $686,184.00 in calendar year
2005. The defendant knew that the statement was false and that he had under-reported his actual
income, which was $988,692.00. The false statement as to the defendant’s income was material, that
is, it was essential to an accurate determination of his tax liability. The defendant did not believe that
his return was true and correct as to the material matter of the income that he earned in calendar year
2005. The defendant agrees further that he acted wilfully, that is, he voluntarily and intentionally
violated a known legal duty to file a true and correct federal income tax return. The defendant stipulates
that the tax loss to the United States, based on the misrepresentation in his 2005 tax return, was
$92,905.00.

f. On or about October 19, 2007, the defendant made, subscribed, and filed a Form
1040 joint tax return. The return contained a statement indicating that the return was made under
penalty of perjury. The defendant certified on the tax that he earned $919,610.00 in calendar year 2006.
The defendant knew that the statement was false and that he had under-reported his actual income,

which was $1,657,968.00. The false statement as to the defendant’s income was material, that is, it was
Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 9 of 12 PagelD #: 30

essential to an accurate determination of his tax liability. The defendant did not believe that his return
was true and correct as to the material matter of the income that he earned in calendar year 2006. The
defendant agrees further that he acted wilfully, that is, he voluntarily and intentionally violated a known
legal duty to file a true and correct federal income tax return. The defendant stipulates that the tax loss
to the United States, based on the misrepresentation in his 2006 tax return, was $268,521.00.

g. The defendant agrees that the total amount of loss to the United States, i.e., the
additional amount of tax due and owing, is $361,426.00.

4. Provided that the United States does not learn after the entry of the defendant’s guilty plea
of conduct by the defendant that is inconsistent with acceptance of responsibility, the United States
agrees to recommend a three-level reduction in the defendant’s Sentencing Guidelines range pursuant
to U.S.S.G. § 3E1.1.

5. The defendant understands that the District Court must consider the United States
Sentencing Guidelines and the factors set forth in Title 18, United States Code, Section 3553(a) in
determining an appropriate sentence. The Court may impose a sentence which exceeds, falls below,
or is contained within the sentencing range prescribed by the Sentencing Guidelines. The defendant
expressly acknowledges that ifthe Court imposes a sentence outside the range set forth in the sentencing
guidelines, or otherwise different than the defendant expected, or contrary to the recommendation of
his attorney or the United States, the defendant will not be allowed to withdraw his guilty plea on that
basis.

6. The defendant agrees to pay the $400 special assessment the day of sentencing. Should
he fail to do so, the defendant agrees to enter voluntarily into the United States Bureau of Prisons’

administered program known as the Inmate Financial Responsibility Program, through which the
Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 10 of 12 PagelD #: 31

Bureau of Prisons will collect a portion of the defendant’s prison salary and apply it on the defendant’s
behalf to the payment of the outstanding debt ordered.

7. The defendant agrees to file, not less than one month before sentencing, proper income tax
returns or amended income tax returns, Forms 1040, for the years 2005 and 2006. The defendant further
agrees to provide the United States Attorney’s Office and the United States Probation Office with copies
of those returns, to cooperate with any civil tax audit, and to pay back taxes and any interest and
penalties that are properly assessed.

8. Inorder to facilitate the collection of financial obligations, including the payment ofa fine,
to be imposed in connection with this prosecution:

a. The defendant agrees fully to disclose all assets in which he has any interest or over
which he exercises control, directly or indirectly, including those assets held by a spouse, nominee or
other third party. No later than two weeks following the entry of his guilty plea in this case, the
defendant will submit a completed sworn financial statement (the “Financial Statement”) to the
government, through his undersigned counsel, in a form the government provides and as it directs. No
later than two weeks prior to the sentencing hearing in this case, the defendant will provide to the
government, through its undersigned counsel, any supporting documentation in the defendant’s
possession, custody, or control (including banking and brokerage records) for the disclosures set forth
in the Financial Statement, as directed by counsel for the government. The defendant also agrees to
provide and/or consent to the release of the defendant’s federal and state tax returns for the tax years
2004-2009. The defendant promises that his Financial Statement, disclosures, and supporting

documentation will be complete, accurate, timely and truthful.

10
Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 11 of 12 PagelD #: 32

b. Should the defendant fail to provide complete, accurate, timely and truthful financial
information as set forth above, the government, in its sole discretion, may deem such conduct
inconsistent with the acceptance of responsibility under paragraph 4 of this Agreement and may, in its
sole discretion, do any or all of the following: (i) oppose any reduction in the defendant’s Offense
Level, pursuant to Sentencing Guideline Section 3E1.1(b); (ii) file a motion for an upward variance
from the otherwise applicable Sentencing Guideline range; (iii) seek an order compelling production
of the financial information; and/or (iv) void this Agreement.

9. The defendant knows that he has, and voluntarily and expressly waives, the right to file
any appeal, including, but not limited to, an appeal under 18 U.S.C. § 3742 or 28 U.S.C. § 1291, except
that the defendant reserves his right to appeal only if (1) the government appeals from the sentence, (2)
the defendant’s sentence exceeds the statutory maximum for the offense set forth in the United States
Code, or (3) the sentence unreasonably exceeds the Sentencing Guidelines range determined by the
District Court in applying the United States Sentencing Guidelines.

10. The United States Attorney reserves the right to defend any ruling of the District Court
should there be an appeal from this case.

11. Itis further agreed by the undersigned parties that this Memorandum supersedes all prior
promises, representations, and statements of the parties; that this Memorandum may be modified only

in a written document signed by all the parties; and, that any and all promises,

11
Case 1:11-cr-00042-GMS Document 10 Filed 06/09/11 Page 12 of 12 PagelID #: 33

representations, and statements made prior to or after this Memorandum are null and void and have no

effect whatsoever.

DAVID C. WEISS
Attomey for the United States,
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Edson A. Bostic, Esq. : Robert F. Kravetz
Luis A. Ortiz, Esq. Assistant United States teeny

Attorneys for Defendant

JH

istopbér J. Tigani
Defendant

Dated: June 9, 2011

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AND NOW, this 4 day of J ene, 2011, the foregoing

Memorandum of Plea Agreement is hereby (accepted) (rejected) by this Court.

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Hon. regony/ M. Sléet
Chief\Wnited States District fudge

12
